         Case 2:23-cv-05061-PA-AFM Document 4 Filed 06/26/23 Page 1 of 1 Page ID #:43
AO 121 (Rev. 06/16)
TO:

                   Register of Copyrights                                                              REPORT ON THE
                    U.S. Copyright Office                                                      FILING OR DETERMINATION OF AN
                 101 Independence Ave. S.E.                                                           ACTION OR APPEAL
                 Washington, D.C. 20559-6000                                                       REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                         COURT NAME AND LOCATION
        G
        ✔ ACTION               G APPEAL
                                                                         U.S. District Court for the Central District of California
DOCKET NO.                          DATE FILED
      2:23-cv-05061                           6/26/2023                  (Western Division)

PLAINTIFF                                                                             DEFENDANT
JULIUS JOHNSON                                                                     Onika Tanya Maraj; Universal Music Group, Inc.; Songs Of
                                                                                   Universal, Inc.; Michael Len Williams II; Kazarion Fowler;
                                                                                  Money Mack Music Inc.; Harajuku Barbie Music, LLC; Esther
                                                                                  Renay Dean; Marcus Bell; Sounds from Eardrummers LLC;
                                                                                        WB Music Corp.; Dat Damn Dean; & Does 1-10
       COPYRIGHT
                                                                TITLE OF WORK                                              AUTHOR OR WORK
    REGISTRATION NO.

1SR 921-043                         onmysleeve                                                                 JULIUS JOHNSON

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                       INCLUDED BY
                                             G Amendment                 G Answer               G Cross Bill           G Other Pleading
       COPYRIGHT
                                                                TITLE OF WORK                                              AUTHOR OF WORK
    REGISTRATION NO.

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    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                     DATE RENDERED

            G Order            G Judgment                                     G Yes        G No

CLERK                                                            (BY) DEPUTY CLERK                                            DATE



                      1) Upon initiation of action,               2) Upon filing of document adding copyright(s),     3) Upon termination of action,
                         mail copy to Register of Copyrights         mail copy to Register of Copyrights                  mail copy to Register of Copyrights
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